 Case 1:18-cv-01966-SB Document 339 Filed 09/23/22 Page 1 of 2 PageID #: 12592



                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

TEXASLDPC INC.,

                    Plaintiff,

      v.                                      C.A. No. 18-1966-SB

BROADCOM INC., LSI CORPORATION,
AVAGO TECHNOLOGIES U.S. INC.,

                     Defendants.


           DEFENDANTS’ 30(b)(1) NOTICE OF DEPOSITION OF DAVID GRACE

        PLEASE TAKE NOTICE that, pursuant to Rule 30(b)(1) of the Federal Rules of Civil

 Procedure, Plaintiff TexasLDPC Inc., by and through their counsel of record, will take the

 deposition of David Grace. The deposition will commence at 9:00 a.m. local time on October 19,

 2022 at the offices of Fish & Richardson P.C., located at 222 Delaware Avenue, 17th Floor,

 Wilmington, DE 19801, and will continue from day to day until completed, or at such other time

 and place as may be mutually agreed upon by counsel for the parties.

        The deposition will be taken by oral examination, with written and/or sound and visual

 record made thereof (e.g. videotape, LiveNote, etc.) before a Notary Public or officer authorized

 by law to administer such oaths and will be conducted in accordance with the Federal Rules of

 Civil Procedure. This deposition is for the purpose of discovery and evidentiary use at trial or any

 hearing for this matter, and for any other purpose permitted under the Federal Rules of Civil

 Procedure. You are invited to attend.




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Case 1:18-cv-01966-SB Document 339 Filed 09/23/22 Page 2 of 2 PageID #: 12593




Date: September 23, 2022            FISH & RICHARDSON P.C.


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